               Case 5:23-cr-00620-XR Document 46 Filed 07/15/24 Page 1 of 4



                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION


UNITED STATES OF AMERICA                                       §

VS.                                                            §               5:23-CR-00620-XR-1

JANET YAMANAKA MELLO                                           §



              DEFENDANT'S OPPOSED MOTION TO CONTINUE SENTENCING


TO THE HONORABLE JUDGE OF SAID COURT:

           Now comes Defendant in the above entitled and numbered cause by and through her attorney

of record and moves the Court to continue Sentencing set for July 24th, 2024, at 10:30 AM. In support

thereof, Defendant would show unto this Court the following:

                                                         I.

The Defendant was charged in a multi count indictment before this court. She has pleaded to 10 counts

           including fraud and filing false tax returns. Sentencing is currently set for July 24th, 2024.

                                                        II.

           The defendant is represented by attorney, ALBERT A. FLORES.


                                                        III.

           The Defendant respectfully requests that the Court grant a motion for continuance and a new

scheduling Order based on the following:

      1.       The Attorney requests more time to investigate the circumstances surrounding the

               sentencing of the defendant and the possibility of any mitigation issues arising out of that

               investigation. The review of all relevant evidence is necessary to properly prepare for

               sentencing and properly assess the relevant conduct in this case.
            Case 5:23-cr-00620-XR Document 46 Filed 07/15/24 Page 2 of 4




    2.      The sentencing issues in this case are complex and involve multiple agencies, multiple

            seizures and potentially disagreements on relevant conduct.

    3.      The retained expert on this case, Dr. Fabian, has not completed his final assessment of

            the defendant, Mrs. Mello.

    4.      There is no prejudice to the government if a short continuance is granted.

    5.      The defendant has complied with all requirements of pretrial release.

    6.      The AUSA, Justin Simmons, does oppose a continuance.


         The Defendant does not request this continuance for purposes of undue delay, but so that he

may receive a proper and effective assistance of counsel. The protection of due process rights, effective

assistance of counsel, and preparation of an adequate defense afforded by a continuance in this case,

would greatly outweigh the public’s interest for quick resolution of this matter.

         WHEREFORE, premises considered, Defendant prays that this Court grant his motion for

continuance for a period of 45 days.



                                                Respectfully submitted:




                                                ALBERT A. FLORES
                                                State Bar No. 24010026
                                                3817 San Pedro
                                                SAN ANTONIO, TX 78212
                                                (210) 225-4006
                                                (210) 881-0797 (FAX)

                                                Attorney for Defendant
          Case 5:23-cr-00620-XR Document 46 Filed 07/15/24 Page 3 of 4




                                  CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing Defendant's Motion has been delivered

to the United States Attorney's Office, Justin Simmons, SAN ANTONIO, Texas, on this the 15th day

of July 2024 via the court’s ECF system.




                                             ALBERT A. FLORES
          Case 5:23-cr-00620-XR Document 46 Filed 07/15/24 Page 4 of 4




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION




UNITED STATES OF AMERICA                           §

VS.                                                §              5:23-CR-00620-XR-1

JANET YAMANAKA MELLO                               §



                                          ORDER




       On this the     day of            , 20   , came to be considered Defendant's Motion for a

Continuance, and said motion is hereby

       (GRANTED)             (DENIED)




                                           UNITED STATES DISTRICT JUDGE
